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                         Exhibit E
            Declaration of Darren Lazor,
           Member of Equality California
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